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October 22, 2021

Via ECF

Hon. Valerie Caproni
United States District Judge
Southern District of New York
40 Foley Square, Room 240
New York, New York 10007

Re:                  David A. Joffe v. King & Spalding LLP
                     17 Civ. 3392 (VEC)(SDA)

Dear Judge Caproni:

The parties write pursuant to the Court’s October 19, 2021 Order (Dkt. No. 280) to set forth our
joint position and proposal with respect to the presentation of certain testimony.

The parties agree that Defendant will offer the testimony of Mr. Robert Thornton and Ms.
Meredith Moss on its case-in-chief via deposition designations.

The parties are also conferring on whether the testimony of any other witnesses will be presented
by deposition. The parties therefore respectfully request that the Court grant them leave to
amend the Proposed Joint Pretrial Order (Dkt. No. 267) to include designations of deposition
testimony pursuant to the following schedule:

      x    Deposition designations due by October 28, 2021
      x    Counter-designations and objections due by October 31, 2021
      x    Objections to counter-designations due by November 1, 2021

In addition, the parties seek leave to amend their exhibit lists to include materials that postdate
the parties’ previously-filed Proposed Joint Pretrial Order.

The parties ask that the updated Proposed Joint Pretrial Order reflecting the amendments
referenced above be due no later than 10:00 a.m. on November 2, 2021.

                                                                   *      *      *

The parties are available for a telephone conference at the Court’s convenience should it require
any further information regarding the forgoing.




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  Hon. Valerie Caproni
  October 22, 2021
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  We thank the Court for its attention to this matter.

  Respectfully submitted,

  By:    /s/ Joseph Baumgarten
         /s/ David A. Joffe

  cc: Counsel of record (via ECF)



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SO ORDERED.



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HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
